           Case 3:17-cv-01300-SDD-SDJ       Document 24    10/21/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


WHITMORE                                                             CIVIL ACTION


VERSUS                                                               17-1300-SDD-SDJ


FOREMOST INSURANCE
COMPANY

                                          RULING

          The Court, after carefully considering the Complaint,1 the record, the law

applicable to this action, and the Report and Recommendations2 of United States

Magistrate Judge Scott D. Johnson, dated September 28, 2020, to which no objection

has been filed, hereby approves the Report and Recommendations of the Magistrate

Judge and adopts it as the Court’s opinion herein.

          ACCORDINGLY, the Plaintiff's claims against Defendant, Foremost Insurance

Company, are hereby DISMISSED without prejudice.

          Judgment will be entered accordingly.

          Signed in Baton Rouge, Louisiana the 21st day of October, 2020.




                                        S
                                      CHIEF JUDGE SHELLY D. DICK
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA



1
    Rec. Doc. 1.
2
    Rec. Doc. 23.
